                              UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF WISCONSIN
                                   GREEN BAY DIVISION


TIMOTHY J. FAST
on behalf of himself and all
others similarly situated,

                 Plaintiff,

       v.                                                    Case No. 16-CV-1637

CASH DEPOT, LTD.,

                 Defendant.


                              DECLARATION OF KELLY L. TEMEYER


Pursuant to 28 U.S.C. § 1746, I hereby declare the following to be true under penalty of perjury:

1.     I am an Attorney at Walcheske & Luzi, LLC, counsel for Plaintiff in the above-captioned

       matter.

2.     I have assisted with the litigation of this case by, among other things, drafting and serving

       Plaintiff’s First Set of Interrogatories and Request for Production of Documents

       (“Plaintiff’s first set of discovery”), as I served on Defendant on May 12, 2017.

3.     Plaintiff’s first set of discovery requested information necessary to support our anticipated

       motion for conditional certification.

4.     Attached hereto as Exhibit A is a true and correct copy of Plaintiff’s first set of discovery.

5.     Defendant did not respond to Plaintiff’s first set of discovery within thirty (30) days.

6.     On June 14, 2017, and after Defendant did not provide timely responses to Plaintiff’s first

       set of discovery, I faxed a letter to Defendant’s counsel regarding its discovery obligations

       and unilaterally extending the due date for Defendant’s responses to June 16, 2017.

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7.    Attached hereto as Exhibit B is a true and correct copy of my June 14, 2017 letter as faxed

      to Defendant’s counsel.

8.    On June 14, 2017, I received an email from Defendant’s counsel stating, in part, that

      counsel was working on Defendant’s discovery responses, but that the responses would not

      be provided until June 21, 2017. Counsel’s email further referenced a letter that was sent

      to us the previous week, “along with a payroll check and some discovery requests.”

9.    Attached hereto as Exhibit C is a true and correct copy of Defendant’s counsel’s June 14,

      2017 email.

10.   After receiving Defendant’s Counsel’s June 14, 2017 email, I contacted Attorney James A.

      Walcheske, who had been out of the office that week, regarding Defendant’s counsel’s

      June 14, 2017. Attorney Walcheske told me to check his mail for a letter from counsel,

      which I did. I then found an unopened envelope from Defendant’s counsel that we had

      received on or about June 13, 2017. Inside was a check made payable to Plaintiff in the

      amount of $338.98. Accompanying the check was a letter from Defendant’s counsel dated

      June 6, 2017, as well as Defendant’s Second Set of Interrogatories and Request to Produce

      Documents.

11.   Attached hereto as Exhibit D are true and correct copies of Defendant’s check made payable

      to Plaintiff as well as counsel’s June 6, 2017 letter that accompanied same.

12.   Attached hereto as Exhibit E is a true and correct copy of Defendant’s Second Set of

      Interrogatories and Request to Produce Documents.

13.   Defendant mistakenly titled its Second Set of Interrogatories and Requests to Produce

      Documents because it was actually its first set of discovery.




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14.   Prior to receiving Defendant’s check made payable to Plaintiff, neither Defendant nor its

      counsel indicated to me that Defendant wanted to or would send a check to Plaintiff.

15.   On July 13, 2017, I faxed Plaintiff’s Answers to Defendant’s [Second Set] of

      Interrogatories and Request to Produce Documents to Defendant’s counsel.

16.   Attached hereto as Exhibit F is a true and correct copy of Plaintiff’s Answers to

      Defendant’s [Second Set] of Interrogatories and Request to Produce Documents, as well

      as the cover letter that accompanied the same.



      Dated this 1st day of September, 2017.

                                                    s/ Kelly L. Temeyer
                                                    Kelly L. Temeyer




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